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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:10-00124-02

ALBERT SIMS


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On July 5, 2012, the United States of America appeared

by John J. Frail, Assistant United States Attorney, and the

defendant, Albert Sims, appeared in person and by his counsel,

David O. Schles, for a hearing on the petition on supervised

release submitted by United States Probation Officer Joseph

Black, the defendant having commenced a thirty-month term of

supervised release in this action on December 7, 2011, as more

fully set forth in the Supervised Release Revocation and

Judgment Order entered by the court on December 7, 2011.


           The court heard the admissions of the defendant and

the representations and argument of counsel.


           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court
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found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant failed to follow the directions of the probation

officer inasmuch as on December 8, 2011, he was directed to

report to the probation department in Detroit, Michigan, upon

arrival of his flight from Charleston, West Virginia, which he

failed to do, rendering his whereabouts unknown until December

15, 2011, when he was directed to report on December 16, 2011,

which he failed to do that day or any day thereafter; and (2)

that the defendant failed to notify the probation officer of his

contact with the police on December 10, 2011, when he was

stopped for a traffic violation and issued a citation by the

Dearborn, Michigan, Police Department; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


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           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3553(a), that the defendant

is in need of correctional treatment which can most effectively

be provided if he is confined, it is accordingly ORDERED that

the defendant be, and he hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of SIX (6) MONTHS, to be followed by a term of TWENTY-

FIVE (25) MONTHS of supervised release upon the standard

conditions of supervised release now in effect in this district

by order entered June 22, 2007, and the further condition that

the defendant not commit another federal, state or local crime

and the special condition that he pay the entirety of the $100

special assessment and $1,000 fine on or before March 10, 2013.


           The defendant was remanded to the custody of the

United States Marshal.




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           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       July 9, 2012


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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